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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2024 OK 45Case Number: SCBD-7492Decided: 06/10/2024IN THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 


IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2022
&nbsp;
_ORDER STRIKING NAMES 
The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2011, ch. 1, app. 1-B, for the year 2022.
Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on June 12, 2023, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2022. Based on its application, this Court finds that the Board of Governors determined at their May 24, 2024 meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order. Further, the Board of Governors declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on June 12, 2024. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 12, 2024 for failure to comply with the Rules for Mandatory Continuing Legal Education for the year 2022.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 10TH DAY OF JUNE, 2024.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR.


Exhibit "A"
Strike for Noncompliance with MCLE Requirements for the Year 2022
OBA # 20467
Debra Dawn Campbell
PO Box 571
Wellston, OK 74881-0571
OBA # 1675
Mark D Christiansen
6208 Waterford Blvd Apt 100
Oklahoma City, OK 73118-1113
OBA # 34660
Degol Tseggai Gherezghiher
2341 NW 198th St
Edmond, OK 73012-5220
OBA # 19466
Raphael Thomas Glapion
433 N Air Depot Blvd Apt 7
Midwest City, OK 73110-1722
OBA # 4184
Curley Higgins
420 S Lawton Ave Apt 517
Tulsa, OK 74127-8929
OBA # 15578
Brian Edward McMahan
12138 Peck Dr
Spencer, OK 73084-8401
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